                                             UNITED STATES BANKRUPTCY COURT
                                                WESTERN DISTRICT OF TEXAS
                                                      EL PASO DIVISION
        IN RE: Daniel Joseph Gores                                                            Case No.     16-30648
               Rosalinda Gores
                         Debtor(s)                                                            Chapter 13 Proceeding

                                        AMENDED       MODIFIED
                                     DEBTOR(S)' CHAPTER 13 PLAN
                            AND MOTIONS FOR VALUATION AND LIEN AVOIDANCE



   Creditors are hereby notified that the following Plan may be amended at any time before confirmation. Any amendment
   may affect your status as a creditor. The Debtor's estimate of how much the Plan will pay, projected payments, and
   estimates of the allowed claims may also change. The following information advises creditors of the status of the case based
   on the information known at the time of its preparation. Any special concerns of a creditor may justify attendance at the
   Meeting of Creditors and such other action as may be appropriate under the circumstances. More detailed information is
   on file at the Office of the United States Bankruptcy Clerk in El Paso or Waco, Texas. Local Bankruptcy Rules and
   Standing Orders on procedures are available at the Clerk's Office and online at www.txwb.uscourts.gov.

   Use of the singular word "Debtor" in this Plan includes the plural where appropriate.


                                                             Plan Summary
A. The Debtor's Plan Payment will be __________________________________,
                                               $425.00 Monthly                  paid by      Pay Order or             Direct Pay
   for ____________________.
             36 months          The gross amount to be paid into the plan is ____________________.
                                                                                    $15,300.00
B. The Plan proposes to pay all allowed priority claims in full, all secured claims to the extent of the value of the collateral or the amount
   of the claim, whichever amount is provided for in Section VI below, and approximately ________
                                                                                                4%        of each unsecured allowed claim.
THIS PLAN DOES NOT ALLOW CLAIMS. YOU MUST FILE A PROOF OF CLAIM BY THE APPLICABLE DEADLINE TO
RECEIVE DISTRIBUTIONS UNDER ANY PLAN THAT MAY BE CONFIRMED. CREDITORS ARE REFERRED TO THE FEDERAL
RULES OF BANKRUPTCY PROCEDURE, THE LOCAL BANKRUPTCY RULES FOR THE WESTERN DISTRICT OF TEXAS, AND
THE APPLICABLE STANDING ORDER RELATING TO CHAPTER 13 CASE ADMINISTRATION FOR THIS DIVISION, FOR
INFORMATION ON THESE AND OTHER DEADLINES.
C. The value of the Debtor's non-exempt assets is ___________________________.
                                                              $0.00
D. If the payment of any debt is proposed to be paid directly by the Debtor outside the Plan, it is so noted in Section VI(1), set
   forth below.

                                                             Plan Provisions
                                                     I. Vesting of Estate Property
    Upon confirmation of the Plan, all property of the estate shall vest in the Debtor and shall not remain as property of the estate.
    Upon confirmation of the Plan, all property of the estate shall not vest in the Debtor, but shall remain as property of the estate.
    Other (describe):




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                                                                   Continuation Sheet # 1


                                               II. Pre-Confirmation Disbursements
In accordance with the applicable Standing Order Relating to Chapter 13 Case Administration, the Debtor requests and consents to
disbursement by the Chapter 13 Trustee of payments prior to confirmation of the Plan to evidence the Debtor's good faith, promote
successful completion of the case, and to provide adequate protection to secured creditors. The Debtor shall remit such payments
to the Trustee commencing 15 days after the filing of the petition. Provided all conditions for disbursement are met and unless
otherwise ordered by the Court, the Trustee shall begin disbursing to creditors as provided below, on the first regularly scheduled
disbursement after 30 days after the the petition is filed. Payments under this paragraph will cease upon confirmation of the Plan.


 Creditor/Collateral                                   Pre-Confirmation Payment Amount                  Other Treatment Remarks

                               III. Executory Contracts/Unexpired Leases/Contracts for Deed
Pursuant to 11 U.S.C. §1322(b)(7) of the Bankruptcy Code, the Debtor hereby elects to assume the following executory contracts,
unexpired leases, and/or contracts for deed, if any:


 Creditor Name                      Description of Contract                                                                Election       In Default

 Aaron's                            Refrigerator, washer & dryer                                                           Assumed           No


Pursuant to 11 U.S.C. §1322(b)(7) of the Bankruptcy Code, the Debtor hereby elects to reject the following executory contracts,
unexpired leases, and/or contracts for deed, if any:


 Creditor Name                      Description of Contract                                                                Election       In Default
 (None)

                                  IV. Motion to Value Collateral Pursuant to 11 U.S.C. § 506
The Trustee shall pay allowed secured claims, which require the filing of a proof of claim, to the extent of the value of the collateral or
the amount of the claim, whichever amount is provided for in Section VI(2), hereof, plus interest thereon at the rate specified in this
Plan. Except for secured claims for which provision is made to pay the full amount of the claim not withstanding the value of the
collateral, the portion of any allowed claim that exceeds the value of the collateral shall be treated as an unsecured claim under
Section VI(2)(F).

The Debtor(s) move(s) to value the collateral described below in the amounts indicated. The values as stated below represent the
replacement values of the assets held for collateral, as required under Section 506(a)(2). Objections to valuation of collateral
proposed by this Motion and Plan must be filed no later than ten (10) days prior to the confirmation hearing date. If no timely
response or objection is filed, the relief requested may be granted in conjunction with confirmation of the Plan.
                                                                          Monthly
                                                       Value             Payment or
 Creditor /                          Estimated            of              Method of         Interest   Anticipated    Other
 Collateral                           Claim           Collateral        Disbursement         Rate      Total to Pay   Treatment/Remarks




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                                                                    Continuation Sheet # 2


"I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct. Executed on
                                                        ."


Debtor                                                                           Joint Debtor

                                          V. Motion to Avoid Lien Pursuant to 11 U.S.C. § 522(f)

The Bankruptcy Code allows certain liens to be avoided. If a lien is avoided, the claim will not be treated as a secured claim but as an
unsecured claim under Section VI(2)(F).

The Debtor moves to avoid the following liens that impair exemptions. Objections to lien avoidance as proposed in this Plan must be
filed no later than ten (10) days prior to the confirmation hearing date. If no timely objection is filed, the relief requested may be
granted in conjunction with confirmation of the Plan. (Debtor must list the specific exempt property that the lien impairs and the
basis of the lien--e.g., judicial lien, nonpurchase-money security interest, etc.)

 Creditor /                                                                                       Amount of Lien
 Property subject to lien                                                                          to be Avoided    Remarks



                                                VI. Specific Treatment for Payment of Allowed Claims
1. PAYMENTS TO BE MADE BY THE DEBTOR DIRECTLY TO CREDITORS, INCLUDING POST-PETITION DOMESTIC
SUPPORT OBLIGATIONS
A. Debtor(s) shall pay the following creditors directly. Creditors with claims based on a post-petition domestic support obligation
("DSO"), including all governmental units to which a DSO claim has been assigned, or is owed, or that may otherwise recover a DSO
claim, MUST be paid directly. Minors should be identified by their initials only. If no DSO creditor is listed, the Debtor represents
he/she has no domestic support obligation.

All direct payments listed below shall be made in addition to the Plan payments made by Debtor to the Chapter 13 Trustee as herein
set forth. Secured creditors who are paid directly shall retain their liens, and the Debtor(s) shall maintain insurance on the collateral,
in accordance with the terms of the documents creating the lien on the collateral.
 Creditor / Collateral, if any (including the          Remarks                                                 Debt Amount          Payment
 name of each DSO creditor)                                                                                                         Amount/Interval
Compass Bank                                           Direct pay by daughter                                          $18,342.00              $396.00
2012 Nissan Altima - Direct pay by daughter
State of Georgia - Child Support                       Past due / Current Direct Pay                                    $8,000.00


B. Debtor surrenders the following collateral. Confirmation of the Plan shall operate to lift the automatic stay provided by
11 U.S.C. § 362(a) with respect to the collateral listed, and any unsecured deficiency claim may be filed in accordance with the
procedures set forth in the Standing Order Relating to Chapter 13 Case Administration for this Division.

 Creditor/Collateral                                                                   Collateral to Be Surrendered




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                                                                 Continuation Sheet # 3


2. PAYMENTS TO BE MADE BY TRUSTEE TO CREDITORS
A. Administrative Expenses
Administrative Expenses shall include the Trustee's commission and debtor's attorney's fees. The Trustee shall receive up to 10% of
all sums received. No fees or expenses of counsel for the debtor(s) may be paid until the filing fee is paid in full, and any fees and
expenses that are allowed in addition to the fees and expenses originally agreed to be paid, may be paid only after all prior allowed
fees and expenses have been paid.

                                                                       Payment Method:
                                                                         before secured creditors,
                                                Estimated                after secured creditors, or
 Creditor                                     Amount of Debt             along with secured                Remarks

Watson Law Firm, P.C.                                   $3,600.00       Along With
Western District of Texas Bankr Court                     $155.00       Along With

B. Priority Claims, Including Domestic Support Obligation Arrearage Claims

                                                                       Payment Method:
                                                                         before secured creditors,
                                                Estimated                after secured creditors, or
 Creditor                                     Amount of Debt             along with secured                Remarks

C. Arrearage Claims
                                                                         Monthly
                                                       Estimated        Payment or
 Creditor /                             Estimated      Value of          Method of        Interest     Anticipated    Other
 Collateral                              Claim         Collateral      Disbursement        Rate        Total to Pay   Treatment/Remarks


D. Cure Claims on Assumed Contracts, Leases, and Contracts for Deed

 Creditor/Subject                                   Estimated Amount       Monthly Payment or
 Property, if any                                     of Cure Claim        Method of Disbursement         Remarks

E. Secured Creditors
Secured creditors shall retain their liens on the collateral that is security for their claims until the earlier of the date the underlying
debt, as determined under non-bankruptcy law, has been paid in full, or the date of discharge under 11 U.S.C. § 1328. Therefore, if
the debtor's case is dismissed or converted without completing of all Plan payments, the liens shall be retained by the creditors to
the extent recognized by applicable non-bankruptcy law.
                                                                         Monthly                                      Other Treatment/Remarks
                                                                        Payment or                                    (specifically note if claim
                                        Estimated        Value of        Method of        Interest     Anticipated    amount to be paid although
 Creditor/Collateral                     Claim          Collateral     Disbursement        Rate        Total to Pay   greater than value of collateral)
Carfinsvcs                               $4,619.00        $5,119.00          Pro-Rata       5.25%        $4,862.27
2005 Dodge Neon




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                                                         Continuation Sheet # 4


F. General Unsecured Creditors (including claims from rejection of contracts, leases and contracts for deed).
Describe treatment for the class of general unsecured creditors.
General Unsecured Creditors will receive approximately ____________
                                                           4%       of their allowed claims.

 Creditor                                     Estimated Debt       Remarks
  Affiliated Group                                      $39.70
  Ally Financial                                    $16,601.00
  Arizona Central Credit Union                      $19,012.00
  Bank Of America                                        $0.00
  Barclays Bank Delaware                             $1,655.00
  Barclays Bank Delaware                               $822.00
  Barnett Auto Sales                                     $0.00
  Cap1/frnrw                                             $0.00
  Cap1/rmstr                                             $0.00
  Capital One                                        $3,629.00
  Capital One                                        $3,004.00
  Capital One                                        $2,957.00
  Capital One                                        $1,850.00
  Capital One Auto Finance                               $0.00
  CBE Group                                            $567.33
  Chase Card Services                                    $0.00
  Credit Collection Services                            $77.53
  Creditmaster                                           $0.00
  Dept Of Ed/Nelnet                                 $17,651.00
  Dept Of Veterans Affai                               $443.00
  Dept Of Veterans Affai                               $125.00
  Diversified Adjustment Service, Inc.                  $40.26
  Evolve Federal Cu                                      $0.00
  Fed Loan Servicing                                $58,609.00
  Freedom Community C U                                  $0.00
  GECU                                                   $0.00
  Iowa Student Loan                                      $0.00
  JC Christensen & Associates, Inc.                    $442.00
  Mabt - Genesis Retail                                  $0.00
  Maverick Fin                                         $672.00
  Mid Atlantic Finance                                   $0.00
  Midland Funding, LLC                                 $804.53
  Military Star/AAFES                                    $0.00
  Ok Fin                                                 $0.00
  Performant Recovery, Inc.                          $1,310.38
  Personal Credit Plan                                   $0.00

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  Pioneer Military Loans                                  $0.00
  Pioneer Military Loans                                  $0.00
  Receivables Performance Management, LLC               $387.36
  Service Credit Union                                    $0.00
  SYNCB/Chevron Texaco                                    $0.00
  Syncb/mohwki                                            $0.00
  Synchrony Bank/ JC Penneys                              $0.00
  Synchrony Bank/Kirklands                                $0.00
  Synchrony Bank/Lowes                                    $0.00
  Synchrony Bank/Walmart                                $321.00
  Target                                                  $0.00
  Tri-state Adjustments                                 $353.00
  US Department of The Treasury                         $160.00
  Wells Fargo Card Services                               $0.00


Totals:

Administrative Claims                 $3,755.00
Priority Claims                           $0.00
Arrearage Claims                          $0.00
Cure Claims                               $0.00
Secured Claims                        $4,619.00
Unsecured Claims                    $131,533.09


                                                  VII. Supplemental Plan Provisions
The following are the Supplemental Plan Provisions:

Agreed Orders
Agreed Orders shall control in any conflict between Plan provisions and the provisions in the Agreed Orders.


Disposable Earnings
Pursuant to 11 U.S.C. § 1322(a)(1) of the Bankruptcy Code, the Debtor(s) shall submit all or such portion of future earnings or
other future income of the debtor to the supervision and control of the trustee as is necessary for the execution of the plan.
The Debtor(s) agree to report to the Trustee any changes in income that would necessitate modifying their plan by either
increasing or decreasing their plan payment or increasing or decreasing payout to unsecured creditors




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                                         AMENDED       MODIFIED
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                                                             Continuation Sheet # 6


Authorization to send monthly bills
Confirmation of the Plan shall constitute authority for creditors, such as lien-holders on real property and lien-holders on
vehicles, who receive monies as direct payments from Debtor(s) as a result of Debtor(s) election to pay such monies outside of
the plan to send monthly statements as a convenience to the Debtor(s) and such statements shall not be considered a
violation of the provisions of the automatic stay.


Certain Pre-Confirmation Disbursements
If a creditor is listed as secured and scheduled to receive pre-confirmation disbursements and post-confirmation payments
along with the other secured creditors, but such creditor subsequently files an unsecured claim, then the creditor will not
receive any pre-confirmation disbursements and upon confirmation will be paid along with the other unsecured creditors. The
funds that were allocated to such creditor as a pre-confirmation disbursement will be distributed on a pro-rata basis to the
other secured creditors. Similarly, the funds scheduled to be received by such creditor along with other secured creditors on a
pro-rata basis.


Misfiled and Unfiled Creditors Paid Accordingly
If any secured proof of claim is timely filed for a debt that was either not listed or listed as unsecured, the claim shall be allowed
as secured unless, it is objected to. Said claims shall be paid under the plan at 5.5% interest. Likewise, if any priority proof of
claim is timely filed for a debt that was either not listed or listed as unsecured, the claim shall be allowed as priority unless it is
objected to. Said priority claim shall not be paid with any interest.


Below Median Income
If below median income once plan base is paid client will be discharged.




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                                     AMENDED       MODIFIED
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                         AND MOTIONS FOR VALUATION AND LIEN AVOIDANCE
                                                    Continuation Sheet # 7



Respectfully submitted this date: ______________________________.
                                    6/6/2016


                                                                 /s/ W. Matt Watson
                                                                 W. Matt Watson
                                                                 1123 E. Rio Grande
                                                                 El Paso, Texas 79902
                                                                 Phone: (915) 562-4357 / Fax: (866) 201-0967
                                                                 (Attorney for Debtor)




 /s/ Daniel Joseph Gores                                         /s/ Rosalinda Gores
 Daniel Joseph Gores                                             Rosalinda Gores
 10829 Onyxstone                                                 10829 Onyxstone
 El Paso, TX 79924                                               El Paso, TX 79924
 (Debtor)                                                        (Joint Debtor)




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                                               EL PASO DIVISION

  IN RE: Daniel Joseph Gores                                                    CASE NO.    16-30648
                                    Debtor


          Rosalinda Gores                                                      CHAPTER      13
                                  Joint Debtor

                                                 CERTIFICATE OF SERVICE


   I, the undersigned, hereby certify that on June 6, 2016, a copy of the attached Chapter 13 Plan, with any attachments,
was served on each party in interest listed below, by placing each copy in an envelope properly addressed, postage fully
prepaid in compliance with Local Rule 9013 (g).



                                 /s/ W. Matt Watson
                                 W. Matt Watson
                                 Bar ID:24028878
                                 Watson Law Firm, P.C.
                                 1123 E. Rio Grande
                                 El Paso, Texas 79902
                                 (915) 562-4357




Affiliated Group                             Barclays Bank Delaware                     Cap1/frnrw
3055 41st St. NW #100                        xxxxxxxxxxx0511                            xxxxxxxxxxx3492
Rochester, MN 55901                          PO Box 8801                                Po Box 703
                                             Wilmington, DE 19899                       Wood Dale, IL 60191



Ally Financial                               Barclays Bank Delaware                     Cap1/rmstr
xxxxxxxx8425                                 xxxxxxxxxxx8170                            xxxxxxxxxxxx5794
PO Box 380901                                PO Box 8801                                Capital One Retail Services
Bloomington, MN 55438                        Wilmington, DE 19899                       PO Box 30285
                                                                                        Salt Lake City, UT 84130


Arizona Central Credit Union                 Barnett Auto Sales                         Capital One
xxxxxxx0142                                  x051R                                      xxxxxxxxxxxx7548
Arizona Central Credit Union                 8272 Gateway Blvd E                        Attn: Bankruptcy
PO Box 11650                                 El Paso, TX 79907                          PO Box 30285
Phoenix, AZ 85061                                                                       Salt Lake City, UT 84130


Bank Of America                              Barnett Auto Sales                         Capital One
xxxx3680                                     8272 Gateway Blvd E                        xxxxxxxxxxxx5512
NC4-105-03-14                                El Paso, TX 79907                          Attn: Bankruptcy
PO Box 26012                                                                            PO Box 30285
Greensboro, NC 27410                                                                    Salt Lake City, UT 84130
                                   UNITED STATES BANKRUPTCY COURT
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                                            EL PASO DIVISION

  IN RE: Daniel Joseph Gores                                               CASE NO.   16-30648
                                 Debtor


          Rosalinda Gores                                                  CHAPTER    13
                               Joint Debtor

                                              CERTIFICATE OF SERVICE
                                                 (Continuation Sheet #1)

Capital One                               Credit Collection Services             Diane Gores
xxxxxxxxxxxx3445                          Two Wells Avenue, Dept. 587            unknown
Attn: Bankruptcy                          Newton, MA 02459
PO Box 30285
Salt Lake City, UT 84130


Capital One                               Creditmaster                           Diversified Adjustment Service, Inc.
xxxxxxxxxxxx9613                          x4935                                  600 Coon Rapids
Attn: Bankruptcy                          11834 E. Northwest Hwy                 Conn Rapids, MN 55432
PO Box 30285                              Dallas, TX 75218
Salt Lake City, UT 84130


Capital One Auto Finance                  Daniel Joseph Gores                    Evolve Federal Cu
xxxxxxxxxxxxx1001                         10829 Onyxstone                        xxxxxxx0001
7933 Preston Rd                           El Paso, TX 79924                      8840 Gazelle
Plano, TX 75024                                                                  El Paso, TX 79925



Carfinsvcs                                Department of Veterans Affairs         Fed Loan Servicing
xxxxx3563                                 P.O. Box 530269                        xxxxxxxxxxxxx0008
59 Skyline Dr Ste 1700                    Atlanta, GA 30353-0269                 PO Box 69184
Lake Mary, FL 32746                                                              Harrisburg, PA 17106



CBE Group                                 Dept Of Ed/Nelnet                      Freedom Community C U
131 Tower Park Dr Suite 1                 xxxxxxxxxxx2311                        xxxxx0300
Waterloo, IA 50702                        Attn: Claims                           2940 N. University Dr.
                                          PO Box 82505                           Fargo, ND 58102
                                          Lincoln, NE 68501


Chase Card Services                       Dept Of Veterans Affai                 GECU
xxxxxxxxxxxx6781                          xxxxxxxxxxx0072                        xxxxxxxx1540
Attn: Correspondence Dept                 Po Box 11930                           Attn: Bankruptcy
PO Box 15298                              Saint Paul, MN 55111                   PO Box 20998
Wilmingotn, DE 19850                                                             El Paso, TX 79998


Compass Bank                              Dept Of Veterans Affai                 Iowa Student Loan
xxxxxx7918                                xxxxxxxxxxx0071                        xxxxxxxxxxxxx0002
P O Box 10566                             Po Box 11930                           6775 Vista Dr
Birmingham, AL 35296                      Saint Paul, MN 55111                   West Des Moines, IA 50266
                                        UNITED STATES BANKRUPTCY COURT
                                           WESTERN DISTRICT OF TEXAS
                                                 EL PASO DIVISION

  IN RE: Daniel Joseph Gores                                                      CASE NO.   16-30648
                                      Debtor


          Rosalinda Gores                                                         CHAPTER    13
                                    Joint Debtor

                                                   CERTIFICATE OF SERVICE
                                                      (Continuation Sheet #2)

JC Christensen & Associates, Inc.              Performant Recovery, Inc.                SYNCB/Chevron Texaco
200 14th Ave E.                                333 N. Canyons Pkwy #100                 xxxxxx5823
Sartell, MN 56377                              Livermore, CA 94551                      Attn: Bankruptcy
                                                                                        PO Box 103104
                                                                                        Roswell, GA 30076


Mabt - Genesis Retail                          Personal Credit Plan                     Syncb/mohwki
xxxxxxxxxxxx6705                               xxxxxxx4301                              xxxxxxxxxxxx0848
Po Box 4499                                    428 S. Stanton St                        C/o P.o. Box 965036
Beaverton, OR 97076                            El Paso, TX 79901                        Orlando, FL 32896



Maverick Fin                                   Pioneer Military Loans                   Synchrony Bank/ JC Penneys
xxxxx1351                                      xxx6427                                  xxxxxxxxxxxx2526
C/o Security Finan                             4700 Belleview Ave Suite 300             Attn: Bankrupty
Spartanburg, SC 29304                          Kansas City, MO 64112                    PO Box 103104
                                                                                        Roswell, GA 30076


Mid Atlantic Finance                           Pioneer Military Loans                   Synchrony Bank/Kirklands
xxxx0801                                       xxx4614                                  xxxxxxxxxxxx2370
4592 Ulmerton Rd Ste 200                       Attn: Bankruptcy                         Attn: Bankruptcy
Clearwater, FL 33762                           4700 Belleview Ste 300                   PO Box 103104
                                               Kansas City, MO 64112                    Roswell, GA 30076


Midland Funding, LLC                           Receivables Performance Management,      Synchrony Bank/Lowes
8875 Aero Drive Ste 200                        LLC                                      xxxxxxxxxxxx5478
San Diego, CA 92123                            20816 44th Ave. W                        Attn: Bankruptcy
                                               Lynnwood, WA 98036                       PO Box 103104
                                                                                        Roswell, GA 30076


Military Star/AAFES                            Service Credit Union                     Synchrony Bank/Walmart
xxxxxxxxxxxx5520                               xxxxxx1302                               xxxxxxxxxxxx4169
PO Box 650060                                  90 S Main St.                            Attn: Bankruptcy
Dallas, TX 75265                               Rochester, NH 03867                      PO Box 103104
                                                                                        Roswell, GA 30076


Ok Fin                                         State of Georgia - Child Support         Target
xx2035                                         P O Box 1800                             xxxxx0411
312 S. Stanton St.                             Carrollton, GA 30112-1800                C/O Financial & Retail Services
El Paso, TX 79901                                                                       Mailstop BT PO Box 9475
                                                                                        Minneapolis, MN 55440
                                     UNITED STATES BANKRUPTCY COURT
                                        WESTERN DISTRICT OF TEXAS
                                              EL PASO DIVISION

  IN RE: Daniel Joseph Gores                                                 CASE NO.   16-30648
                                   Debtor


          Rosalinda Gores                                                    CHAPTER    13
                                 Joint Debtor

                                                CERTIFICATE OF SERVICE
                                                   (Continuation Sheet #3)

Tri-state Adjustments
xU202
Attn:Collections/Bankruptcy
PO Box 3219
La Crosse, WI 54602


US Department of The Treasury
1500 Pennsylvania AVenue, NW
Washington, DC 20220




Wells Fargo Card Services
xxxxxxxxxxxx2744
MAC F82535-02F
PO Box 10438
Des Moines, IA 10438


Western District of Texas Bankr Court
511 E. San Antonio Ave., 4th Floor
El Paso, TX 79901
